  Case 2:21-cr-00140-JNP Document 22 Filed 07/14/22 PageID.125 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH


UNITED STATES OF AMERICA,
               Plaintiff,                   ORDER DENYING PRO HAC VICE
                                            ADMISSION
 v.
                                            CASE NO: 2:21CR00140
SEZGIN BARAN KORKMAZ,

                    Defendant.



       Before the court is Local Counsel’s Motion for Pro Hac Vice Admission of Nafiz

Cekirge. Based on the motion and for good cause appearing,

       IT IS HEREBY ORDERED that the motion is DENIED WITHOUT PREJUDICE.

Mr. Cekirge failed to certify that the information contained in the Pro Hac Vice

application is true and correct. The court cannot grant local counsel’s motion without

such certification. Counsel may renew the motion upon proper completion of the

application.



       DATED this 13th day of July, 2022.


                                                 BY THE COURT:



                                                 Jill N. Parrish
                                                 United States District Court Judge
